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    EASTERN DISTRICT OF NORTH CAROLINA
    PDF FILE WITH AUDIO FILE ATTACHMENT

          25-01081

          Tiny Frog, Inc.

          Emergency Motion to Use Cash Collateral



          Case Type :                       bk
          Case Number :                     25-01081
          Case Title :                      Tiny Frog, Inc.
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